                        IN THE UNITED STATES DISTRICT COURT
                                                                              FILED
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION                                  1   8 2019
                                                                         CLERK. U.s. PISTR(CT COURt
UNITED STATES OF AMERICA                                                          DISTRICT O TEXAS
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                                             )

VS                                           )            CRIMINAL NO. 5:16-CR-138(1)-DAE
                                             )
JOEL MARTINEZ (1)                            )

                       ORDER REVOKING SUPERVISED RELEASE
                         AND RE-SENTENCING DEFENDANT

       On April 10, 2019, came on to be considered the United States' motion to revoke the

Defendant's Supervised Release. After due hearing, including consideration of all statutorily-

required factors and revocation policy statements, the Court finds that the Defendant has violated

conditions of his supervised release as alleged by the United States, and that the ends of justice

and the best interests of the public will not be served by continuing the Defendant on supervised

release. Accordingly, for reasons pronounced by the Court and set forth in the motion to revoke,

       IT IS ACCORDINGLY, ORDERED that the United States' motion to revoke

supervised release is GRANTED, and that the term of supervised release imposed on March 17,

2017, is hereby revoked and set aside.

       IT IS NOW THE ORDER AND SENTENCE of this Court that the defendant is

remanded to the custody of the Bureau of Prisons to be imprisoned for a total term of

EIGHTEEN (18) MONTHS to run consecutively to any sentence received from Bexar

County 144th Judicial District Court, San Antonio, Texas, case no 503040. It is the Court's

intention that the defendant not receive credit for time previously served on supervision. The

defendant is continued in custodypending designation by the Bureau of Prisons.



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    This Court makes the following recommendation to the Federal Bureau of Prisons:

    1) that the defendant be incarcerated at the facility in Bastrop, Texas

    2) that the defendant participate in educational/vocational programs while in custody

        Upon release from confinement, the defendant shall serve a term of TEN (10) YEARS

supervised release. During the term of supervised release, Defendant shall abide by all

mandatory and standard conditions adopted in the Court's November 28, 2016 Order.

        In addition, the defendant shall abide by the following list of special conditions.

The defendant shall:

    1) The  defendant shall participate in a substance abuse treatment program and follow the
       rules and regulations of that program. The program may include testing and examination
       during and after program completion to determine if the defendant has reverted to the use
       of drugs. The probation officer shall supervise the participation in the program (provider,
       location, modality, duration, intensity, etc.). During treatment, the defendant shall abstain
       from the use of alcohol and any and all intoxicants. The defendant shall pay the costs of
       such treatment if financially able.

   2) The defendant shall submit to substance abuse testing to determine if the defendant has
      used a prohibited substance. The defendant shall not attempt to obstruct or tamper with
      the testing methods. The defendant shall pay the costs of testing if financially able.

   3) The defendant shall submit his or her person, property, house, residence, vehicle, papers,
       computers (as defined in 18 U.S.C. § 1030(e)(l)), other electronic communications or
       data storage devices or media, or office, to a search conducted by a United States
       probation officer. Failure to submit to a search may be grounds for revocation of release.
       The defendant shall warn any other occupants that the premises may be subject to
       searches pursuant to this condition. The probation officer may conduct a search under this
       condition only when reasonable suspicion exists that the defendant has violated a
       condition of supervision and that the areas to be searched contain evidence of this
       violation. Any search shall be conducted at a reasonable time and in a reasonable manner.


       IT IS FURTHER ORDERED that any unpaid monetary sanctions previously imposed

upon the defendant in this cause that remain unpaid are hereby re-imposed.




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       The Clerk shall provide the United States Marshal with a certified copy of this Order to

be authority to said Marshal for his action in the premises.

                     18th
       Signed this          day of April, 2019.




                                                  DAVID
                                                  SENIOR UNITED STATES DISTRICT JUDGE




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